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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                  NO. 4:14CR00191-03 JLH

RICHARD BRIAN REYNOLDS                                                            DEFENDANT

                                             ORDER

       On September 8, 2016, Richard Brian Reynolds appeared for sentencing and a bond

revocation hearing. Prior to the hearing, Reynolds tested presumptively positive for

methamphetamine and was remanded to the custody of the United States Marshal until such time

as he tested negative. The Court has now been informed by the United States Probation Officer that

the defendant’s drug test is negative.

       IT IS THEREFORE ORDERED that the sentencing and hearing on the government’s motion

to revoke bond is hereby rescheduled to begin on TUESDAY, SEPTEMBER 27, 2016, at 1:30

p.m., in Courtroom #4-D, Richard Sheppard Arnold United States Courthouse, 500 West Capitol

Avenue, Little Rock, Arkansas. Document #797.

       IT IS SO ORDERED this 21st day of September, 2016.


                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
